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 5 Attorney for:
   Xavier Valle
 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                             CASE NO. 1:18-CR-00156 DAD BAM
10
                                      Plaintiff,           STIPULATION REGARDING EXCLUDABLE
11                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                           FINDINGS AND ORDER TO CONTINUE CASE
12                                                         TO JANUARY 21, 2020

13    Xavier Valle
                                      Defendants
14

15                                                   STIPULATION

16          Plaintiff United States of America, by and through its counsel of record, Vicenza Rabenn, and

17 Defendant Xavier Valle, represented by Attorney John A. Garcia, hereby stipulate as follows:

18          1.       By previous order, this matter was set for change of plea on December 2, 2019.

19          2.       By this stipulation, defendants now move to continue the change of plea January 21,

20 2020, and to exclude time between December 2, 2019, and January 21, 2020, under Local Codes T4 and

21 M. Plaintiff does not oppose this request. The parties agree and stipulate, and request that the Court

22 find the following:

23                   a)      Counsel for defendants desire additional time to continue to allow for the

24          defendant to prepare with counsel concerning sentencing protocols and procedures associated

25          with his change of plea. Furthermore, the additional time will allow the defendant to ensure his

26          personal affairs are in order should he be remanded into custody upon his change of plea.

27          Counsel for defendants believe that failure to grant the above-requested continuance would deny

28          them the reasonable time necessary for effective preparation, taking into account the exercise of

      Stip. & [Proposed] Order Continuing Status Conf. &   1
      Excluding Time Periods Under Speedy Trial Act
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 1          due diligence. The government does not object to the continuance.

 2                  b)       Based on the above-stated findings, the ends of justice served by continuing the

 3          case as requested outweigh the interest of the public and the defendant in a trial within the

 4          original date prescribed by the Speedy Trial Act.

 5                  c)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 6          et seq., within which trial must commence, the time period December 2, 2019, and January 21,

 7          2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

 8          T4] for Mr. Valle because it results form a continuance granted by the Court at defendants

 9          request on the basis of the Court’s finding that the ends of justice served by taking such action

10          outweigh the best interest of the public and the defendants in a speedy trial.

11                  d)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §3161,

12          et seq., within which trial must commence, the time period of December 2, 2019, and January 21,

13          2020, inclusive, is deemed excludable pursuant to 18 U.S.C. §3161 (h)(3)(A) & (B) [Local Code

14          M]: unavailability of a defendant for Mr.Valle.

15          3.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19    Dated: 11/26/19                                          /s/Vicenza Rabenn
                                                               VICENZA RABENN
20                                                             Assistant United States Attorney

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22 Dated: 11/25/19                                         /s/ John A. Garcia
                                                           JOHN A. GARCIA, ESQ.
23                                                         Attorney for Xavier Valle
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      Stip. & [Proposed] Order Continuing Status Conf. &   2
      Excluding Time Periods Under Speedy Trial Act
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 2                                                         ORDER
 3          Pursuant to the parties’ stipulation and good cause shown, IT IS HEREBY ORDERED that the
 4 status conference, currently set for December 9, 2019, is hereby vacated as to defendant Xavier Valle.

 5 It is further ORDERED that the change of plea hearing set for December 2, 2019, is continued to

 6 January 21, 2020 at 10:00 a.m. before the Honorable Dale A. Drozd, and that the time period between

 7 December 2, 2019, and January 21, 2020, inclusive, is excluded from the calculation under the Speedy

 8 Trial Act pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(i) and (iv) for the reasons stated in the parties’

 9 stipulation.

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     IT IS SO ORDERED.
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        Dated:     November 26, 2019
                                                           UNITED STATES DISTRICT JUDGE
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      Stip. & [Proposed] Order Continuing Status Conf. &     3
      Excluding Time Periods Under Speedy Trial Act
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